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       1                        UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
       2                              MIAMI DIVISION
       3                             CASE 12-20291-CR-CMA
       4   THE UNITED STATES OF AMERICA,
       5                           Plaintiff,
       6           vs.
       7   ARMANDO GONZALEZ                                    MIAMI, FLORIDA
                                                               JUNE 27, 2012
       8                                                       WEDNESDAY - 9:30 A.M.
       9                       Defendant.
           _______________________________________________________________
      10
                   TRANSCRIPT OF MOTION FOR REVOCATION OF RELEASE
      11              BEFORE THE HONORABLE CECILIA M. ALTONAGA
                            UNITED STATES DISTRICT JUDGE
      12   _______________________________________________________________
           APPEARANCES:
      13
           FOR THE GOVERNMENT:
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                            Quality Assurance by Proximity Linguibase Technologies
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       1              COURT SECURITY OFFICER:        All rise.    Court is in

       2   session.    The Honorable Cecilia Altonaga presiding.

       3              THE COURT:     Good morning.     Please be seated.    I would

       4   ask counsel to state your name for the record.

       5              MR. KIM:     Stephen Kim and William Parente for the

       6   United States.    Good morning, Your Honor.

       7              MR. MOSCOWITZ:     Norman Moscowitz and Jane Moscowitz on

       8   behalf of Armando Gonzalez who is present.            Your Honor, we are

       9   making a temporary appearance.

      10              THE COURT:     Good morning.     We are here on the

      11   government's motion.

      12              MR. KIM:     Yes, Your Honor.

      13              THE COURT:     Mr. Kim, I will hear from you.

      14              MR. KIM:     Your Honor, based on the facts presented

      15   from Magistrate Goodman and the additional evidence presented

      16   before this Court, the government argues that there is no

      17   condition or combination of conditions that would reasonably

      18   assure the presence of defendant at trial.

      19              The government would like to make two changes to what

      20   they proffered to the Court based on what has recently been

      21   brought to me.

      22              One is, and I relayed this to counsel this morning, in

      23   the government's reply on page 3, the government states that

      24   the government is presently unaware of where the Medicaid

      25   monies were deposited.       That was the $1.2 million that Medicaid


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       1   paid.   We have recently identified the account based on an

       2   electronic funds transfer payment as to the location of that

       3   account.    We have recently discovered there is less than $100

       4   in that account.

       5              Second, Your Honor, last night agents brought to my

       6   attention some jail calls that were listened to last night.

       7   The government would like to bring to the Court's attention and

       8   would like to proffer to the Court just two things from those

       9   jail calls.

      10              One was that the defendant was heard directing his

      11   wife to access an account, an account that was unknown to the

      12   government and is still unknown to the government, to transfer

      13   money out of that account, to transfer it to someone the

      14   government is unaware of but to not deposit it into one of the

      15   company accounts.

      16              The second thing in those jail calls the government

      17   would like to proffer is that there were other accounts

      18   mentioned in those calls that the government was presently

      19   unaware of where the defendant made statements to the effect

      20   that there were funds in those accounts.

      21              THE COURT:     In other accounts that you were unaware

      22   of?

      23              MR. KIM:     Exactly, Your Honor.     Exactly, Your Honor.

      24              THE COURT:     Was the defendant required to provide

      25   pre-trial services with information regarding all of his bank


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       1   accounts?

       2               MR. KIM:     I believe he was in North Carolina, Your

       3   Honor.    I don't know if he was subsequently reinterviewed down

       4   here.    I believe that information is in the pre-trial services

       5   report if I recall correctly.         Counsel can correct me if I'm

       6   wrong.    Pre-trial Service's report here adopted the Pre-trial

       7   Services' report in Ashville.         I don't know if he was

       8   reinterviewed, Your Honor.

       9               THE COURT:     When was he interviewed in Ashville, do

      10   you know?

      11               MR. KIM:     May 2nd, Your Honor.

      12               THE COURT:     Of this year?

      13               MR. KIM:     Yes, Your Honor.

      14               THE COURT:     That Pre-trial Services' report listed

      15   whatever his assets and accounts are?

      16               MR. KIM:     I don't recall, Your Honor.    I don't know if

      17   it lists them out individually.          I believe there was some

      18   mention of his financial condition and what he told Pre-trial

      19   Services.     But I don't know if it was an individual listing of

      20   the accounts, Your Honor.

      21               MR. MOSCOWITZ:     Your Honor, I have the Pre-trial

      22   Service report.        I would be glad to hand it up.    It does not

      23   list specific accounts.        It says that he has approximately

      24   $15,000 in personal accounts.         When the government says it is

      25   unaware of the account, I don't know whether that account is


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       1   one of the accounts referenced or that the amount is included

       2   in that amount.

       3               There was a further Pre-trial Service interview here,

       4   which I attended with Mr. Gonzalez, in which he described

       5   additional corporate accounts which were not referenced

       6   earlier.     Pre-trial Services said that they typically don't ask

       7   about company accounts but that was disclosed in any event.

       8               This is the first I am hearing of this.        Without some

       9   indication that these were amounts not previously disclosed, I

      10   don't know if anything should be made of it.

      11               THE COURT:     Well, the call to the wife and the

      12   instructions to the wife are troubling, are they not?

      13               MR. MOSCOWITZ:     His wife, there is a personal account.

      14   His wife is living -- the amounts in the personal accounts is

      15   $15,000 using those funds.        I don't know whether, maybe he can

      16   give more specificity about what type of transfers he is

      17   talking about and to whom.        If it's to pay a bill, it shouldn't

      18   be troubling at all.

      19               MR. KIM:     Your Honor, the agent who listened to the

      20   calls is present in the courtroom.           The conversation was, first

      21   of all, Your Honor, they were speaking in some code.

      22               Secondly, Your Honor, the reference was to transfer it

      23   to someone, but not to one of the company or corporate

      24   accounts.     Presumably then, Your Honor, this money in this

      25   account unidentified is not a corporate account.


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       1              MR. MOSCOWITZ:     Can we have the name of the person to

       2   whom the money is allegedly transferring to?

       3              THE COURT:     Do you want to ask your client?          It's his

       4   conversation that we are talking about.

       5              [Counsel confers with Defendant off the record]

       6              MR. MOSCOWITZ:     Your Honor, the discussion with his

       7   wife -- his wife has custody of the two children.            The

       8   discussion with his wife was about monies to use to pay

       9   ordinary and customary household bills.          Those are the only

      10   instructions he recalls giving in terms of who this other

      11   person may be, he has no recollection of that.          Unless we have

      12   a name, we don't know whether he is talking about paying a

      13   grocery bill or something else.         If the agent heard the call,

      14   then I think that could clear this up.

      15              MR. KIM:     Your Honor, there were several conversations

      16   regarding bank accounts.

      17              MR. MOSCOWITZ:     I'm sorry, what?

      18              MR. KIM:     There were several conversations regarding

      19   bank accounts.    They were conversations regarding other bank

      20   accounts where actual banks were named.          Those are

      21   conversations where the defendant referred to providing for

      22   expenses such as gas and mortgage payments, Your Honor.               That

      23   was not the conversation that I alluded to earlier regarding

      24   the transfer of money to an account that is not a corporate

      25   account.


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       1             MR. MOSCOWITZ:     Your Honor, if they want to put the

       2   agent on to testify for her to clarify.

       3             THE COURT:    Well, why don't we hear from the agent.

       4   The agent is here, right?

       5             MR. KIM:    Very well, Your Honor.      Your Honor, this is

       6   Special Agent Julie Rivera.

       7             THE COURT:    Are these calls recorded or not?

       8             MR. KIM:    They are recorded, Your Honor.

       9             THE COURT:    Do you solemnly swear or affirm the

      10   testimony you are about to give is the truth?

      11             THE WITNESS:    Yes.

      12                            DIRECT EXAMINATION

      13             THE COURT:    Please, have a seat.

      14   BY MR. KIM:

      15   Q.   Agent Rivera, provide your first and last name for the

      16   record.

      17   A.   Julie Rivera.

      18   Q.   Could you spell that name.

      19   A.   R-i-v-e-r-a.

      20   Q.   Where do you work?

      21   A.   Department of Health and Human Services Office of the

      22   Inspector General.

      23   Q.   How long have you worked there?

      24   A.   Approximately eight years.

      25   Q.   Are you one of the agents involved in this case?


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       1   A.   Yes.

       2   Q.   Agent Rivera, I am going to ask you specifically just about

       3   certain recorded conversations regarding jail calls involving

       4   the defendant.

       5               Did you listen to jail recordings of phone

       6   conversations that were made between the defendant and his

       7   wife?

       8   A.   Yes, I did.

       9   Q.   When did you listen to them?

      10   A.   Yesterday evening.

      11   Q.   Did you listen to them with another agent?

      12   A.   Yes, I did.

      13   Q.   Approximately what was the date range of when those

      14   recordings were made?

      15   A.   Approximately 5/2 to maybe 5/8.

      16   Q.   Of this year?

      17   A.   Yes.

      18   Q.   Were those recordings held at a facility in Ashville, North

      19   Carolina?

      20   A.   Yes, they were.

      21   Q.   Do one of those calls -- did several of those calls

      22   reference bank accounts?

      23   A.   Yes, they did.

      24   Q.   Did one of those calls refer to a conversation the

      25   defendant had with his wife regarding the transfer of funds?


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        1   A.   Yes, it was.

        2   Q.   Can you describe to the Court that conversation that you

        3   heard.

        4   A.   The defendant was instructing his wife to go to an account

        5   and, apparently, the account didn't exist in the community that

        6   they resided in.    So, he was instructing her that she would

        7   have to transfer the money out and put it into another account,

        8   and he instructed her not to put it into a company account, but

        9   to put it in the name of someone else.          He did not specify who

       10   that someone else was.

       11   Q.   Agent Rivera, in these conversations, was there some

       12   indication, either through what the defendant or how he said

       13   it, that would indicate that the defendant did not want these

       14   conversations to be known or completely understood?

       15   A.   He was instructing his wife to speak in Spanish.

       16   Q.   This specific conversation regarding the transfer of these

       17   funds, did they use certain code words?

       18   A.   He was instructing her on the password and he told her that

       19   the password begins with the sport that he plays followed by

       20   the word kid, K-I-D and the number 6 at the end.

       21   Q.   Agent Rivera, were there other conversations where other

       22   bank accounts were referenced?

       23   A.   Yes.

       24   Q.   Can you tell us about some of those conversations.

       25   A.   Um, there was a conversation where there was mention of a


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        1   TD Bank account, and basically the wife informed the defendant

        2   that she paid the mortgage from that account.

        3   Q.   Any other conversations regarding any other bank accounts?

        4   A.   Those are the only two that I recall.

        5   Q.   Were there reference to other accounts that the government

        6   was unaware about until last night?

        7   A.   The two accounts that I just mentioned.

        8   Q.   Other accounts that were not specifically named but were

        9   referenced?

       10   A.   I can't recall at this time.          I just know of those two.

       11               MR. KIM:     Very good.     Nothing further on this topic,

       12   Your Honor.

       13               MR. MOSCOWITZ:     One moment, Your Honor.

       14               [Counsel confers with Defendant off the record.]

       15               MR. KIM:     Your Honor, may I ask one more question?

       16               THE COURT:     Certainly.

       17   BY MR. KIM:

       18   Q.   Agent Rivera, do you recall references to a Fifth Third

       19   Bank?

       20   A.   There was mention of that name of the bank, but I can't

       21   recall what the conversation was in regards to that.           There was

       22   mention of the Fifth Third Bank.

       23   Q.   There was reference to a Fifth Third Bank?

       24   A.   Yes.

       25   Q.   At the time that you listened and reviewed these phone


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        1   calls, the government was unaware of the TD Bank account and

        2   the Fifth Third Bank account, correct?

        3   A.   Correct.

        4               MR. KIM:   Thank you, Your Honor.

        5               MR. MOSCOWITZ:     One moment, Your Honor.

        6                                CROSS EXAMINATION

        7   BY MR. MOSCOWITZ:

        8   Q.   Agent, have you tried to check the balances of these

        9   accounts?

       10   A.   I have not.

       11   Q.   When you say the government was not aware of these accounts

       12   before, was inquiry made and these accounts were not disclosed?

       13   A.   Can you repeat that.

       14   Q.   You said the government was unaware of these accounts

       15   before, did you make inquiry of them to Mr. Gonzalez and he

       16   didn't disclose them?

       17   A.   No.

       18   Q.   Why is the government unaware of these accounts?

       19   A.   We served Grand Jury subpoenas and we got back several

       20   accounts from your defendant of which those two accounts,

       21   obviously, weren't among those accounts that were --

       22   Q.   You subpoenaed the defendant for the accounts and he didn't

       23   turn them over, or you subpoenaed the banks?

       24   A.   The banks, and we weren't aware of those banks.

       25   BY THE COURT:


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        1   Q.   How did you know what banks to subpoena?

        2   A.   I just know we subpoenaed bank records.          I don't know how

        3   we got the bank records.

        4   Q.   You just subpoenaed banks at random?

        5   A.   No, based on the information.        The other agents on the case

        6   got information on the bank accounts.           They were subpoenaing

        7   bank accounts.

        8   Q.   It's not that this defendant failed to disclose

        9   information?

       10   A.   No, that's not what I am saying.

       11   BY MR. MOSCOWITZ:

       12   Q.   When were the subpoenas issued?

       13   A.   I don't know when they were subpoenaed.

       14               MR. MOSCOWITZ:   Your Honor, Mr. Gonzalez says these

       15   are new accounts, certainly prior to the day of his arrest.

       16   The total in those two accounts would have been around $8,000,

       17   $3,000 in one and $5,000 in the other.

       18               The account, we can address this now or later, the

       19   account on which he was giving his wife a password, and again,

       20   the fact that they were speaking in Spanish certainly there is

       21   nothing inappropriate about that.         They are both native Spanish

       22   speakers.     The password would have been to a company account so

       23   that she could determine more information about that account.

       24               That is the account, and we have had previous

       25   discussions with government counsel about this, in which the


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        1   funds had been deposited, received pursuant to this lawsuit

        2   involving Medicaid funds.     Those funds still remain in that

        3   account.    I have told the government, Mr. Gonzalez has been

        4   incarcerated since May 2nd, and it is difficult getting

        5   records, as soon as I received those records I will give them

        6   the precise amount and the account information.         It is my

        7   understanding that that account in which those funds sit are a

        8   Health Care Solutions network account.         That's where they have

        9   been deposited pursuant to transfers from Florida Medicaid.

       10              Your Honor may have looked and seen the declaration by

       11   Mr. Pustari [phonetic], which I think is Defense Exhibit 13

       12   that was submitted at the bond hearing in which he references

       13   discussions in recent months with Mr. Gonzalez about how he can

       14   appropriately take salaries and funds out of his company which

       15   has ceased operation in January, 2011 in North Carolina in

       16   August 2011.     During the time he had conversations.      They were

       17   sitting there.     Mr. Gonzalez hadn't withdrawn them.      He was

       18   trying to figure out the appropriate way to take monies out.

       19   There were monies connected to a civil lawsuit.         I believe

       20   those monies are still there.

       21              If there is a concern about that account and those

       22   funds, and as I said in a footnote to our pleading, even before

       23   Mr. Gonzalez's initial appearance, I told government counsel

       24   about those funds.     He referenced them in his Pre-trial Service

       25   interview here.     They are company funds.      It's his company.   It


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        1   is his intention to use those funds for attorneys' fees and

        2   costs in this action.

        3            Like I said, as soon as I receive the account

        4   information, I will provide it to them if there is a concern

        5   about that.   We believe the Court should uphold the order

        6   granting him bond.     I certainly have no objection assuming the

        7   Court upholds that order to delaying his release pending

        8   confirmation with the government of what those funds are.         I

        9   think we can do that within the next several days.

       10            THE COURT:     Do we still need the agent here at the

       11   witness stand?   Any other questions for her?

       12            MR. MOSCOWITZ:     I have no other questions, Your Honor.

       13            THE COURT:     Thank you, agent.

       14            [Witness was excused.]

       15            THE COURT:     Mr. Kim?

       16            MR. KIM:     Your Honor, regarding the two accounts, the

       17   allegation is that they were newly created accounts.        The

       18   reference to mortgage payments on a house that was, I believe,

       19   owned since 2008 would undercut the fact that they were newly

       20   created accounts.

       21            THE COURT:     You can open a new bank account from which

       22   you pay a pre-existing mortgage.

       23            MR. KIM:     Possibly, Your Honor.    Just the reference to

       24   the -- well, that's true, Your Honor.

       25            The unknown account, the reference in the phone


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        1   conversation was that it not go into a company account.        The

        2   inference then, the clear inference is that the account that

        3   those monies earn presently is not in a company account.        Any

        4   monies that counsel has referenced and informed the government

        5   about regarding Medicaid monies that came after this lawsuit

        6   and those were in the hundreds of thousands of dollars that are

        7   represented to me, if they aren't in a corporate account, the

        8   government advised the Court and advised counsel the government

        9   considers those illicit funds because those are Medicare

       10   payments on fraudulent Medicare claims.        The government has

       11   made this clear to counsel.

       12            THE COURT:     Therefore, those funds can't be used to

       13   pay the defendant's attorneys' fees.

       14            MR. KIM:     I don't think so, Your Honor.     I think there

       15   is a problem with that.

       16            MR. MOSCOWITZ:     Let me cut through this.     If there is

       17   a question about additional accounts which the government

       18   believes are undisclosed, like I say, if the Court affirms the

       19   Magistrate's order --

       20            THE COURT:     I am not going to affirm the Magistrate

       21   Judge's order without hearing -- we came here for a hearing

       22   precisely on that question.     The government doesn't want me to

       23   affirm it.   We are not beginning with the premise that I affirm

       24   the Magistrate's order, and you all clear up the questions that

       25   have arisen based on the conversations that occurred last


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        1   month.

        2            MR. MOSCOWITZ:     I don't know, Your Honor.      What I am

        3   saying, putting these accounts aside, if the Court is otherwise

        4   inclined to affirm the order, I would certainly -- I think we

        5   are just talking, I understand, about several thousand dollars.

        6            THE COURT:     That's according to what your client just

        7   told you today.     The government doesn't know what amounts are

        8   in those funds.     The government has not subpoenaed any of these

        9   bank records as to the accounts that are just disclosed.         We

       10   don't know that it was an $8,000 account that was opened to pay

       11   the pre-existing mortgage.

       12            MR. MOSCOWITZ:     I understand.      Frankly, these

       13   conversations took place in May.       It's unclear to me why again

       14   this could not have been brought up at the hearing if there was

       15   a concern about missing funds.      Be that as it may, this is the

       16   first that I am hearing about it, and we are prepared to

       17   determine exactly what those funds are.         They haven't proffered

       18   what they are.    We will find out and present that to the

       19   government and to the Court.

       20            THE COURT:     Mr. Kim.

       21            MR. KIM:     Your Honor, the recordings were obviously

       22   made on or about that week, the first week in May.         There are a

       23   lot of reasons why the government did not listen to it until

       24   last night.   Part of it was a technical reason.        Part of it was

       25   that we did not get the CD or obtain the recordings soon after


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        1   they were made.       Another problem was that it was a language

        2   issue because part of it was in English and part of it was in

        3   Spanish.    Again, I became aware of it last night.     There was no

        4   attempt to withhold those.       The government was aware of the

        5   substances of those conversations last night.

        6              THE COURT:     I suppose the question then is do we

        7   reschedule this hearing to give both parties an additional

        8   opportunity to explore what these accounts are, what's in them,

        9   and then we can come back and have a hearing on the merits of

       10   your motion to reserve the Magistrate Judge's order.        If you

       11   want me to have those accounts and consideration of those

       12   accounts factored in my decision making, isn't it best to clear

       13   up questions regarding those accounts?

       14              MR. KIM:     Your Honor, regarding the account where we

       15   do not even know the name of the bank, I don't know if

       16   additional time would help the government in identifying much

       17   less gathering information regarding that account because we

       18   presently don't have a custodian to subpoena for those records.

       19              We can infer and the government is relying on this in

       20   terms of presenting it to the Court is that it was not a

       21   company account and that the defendant directed the wife to

       22   move funds from that account into an account that was not a

       23   corporate account presumably because the government would then

       24   have identified those funds and perhaps seized them.        So I

       25   don't know if additional time would aid the Court.


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        1               THE COURT:     We don't know how much we are talking

        2   about.   Are we talking about a paltry $8,000, or are we talking

        3   about an account that holds $500,000.              Isn't that significant?

        4               MR. KIM:     The two accounts that were potentially at

        5   the TD Bank and the Fifth Third Bank -- Your Honor, if the

        6   government is able to subpoena those records, it might take

        7   some time to get those records back.              It might be helpful to

        8   have those records, Your Honor.          The government; however, for

        9   today's hearing is relying mostly on the fact of the

       10   conversation, the fact that there was this direction to

       11   transfer funds in an apparent attempt to conceal them from the

       12   government.

       13               MR. MOSCOWITZ:     Your Honor, the only transfer that I

       14   have heard relates to payments for household expenses.              Without

       15   more, I don't believe there is any reason to find that

       16   inappropriate or of concern.

       17               THE COURT:     I don't believe the agent said that it

       18   related to household expenses.

       19               MR. MOSCOWITZ:     I'm sorry, that's what I thought I

       20   heard.

       21               THE COURT:     No, she is moving her head in the

       22   negative.     She did not.     It was your client who told you that.

       23               MR. MOSCOWITZ:     Can I just ask the agent?

       24               THE COURT:     Certainly.    She is still under oath.      She

       25   just needs a microphone.


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        1             Agent, if you would come forward.      We just need to

        2   have her speak into the microphone.

        3             THE WITNESS:     Are we talking about the account where

        4   he is instructing her to transfer the money?

        5             MR. MOSCOWITZ:     Yes, what was it transferred out of?

        6             THE WITNESS:     He didn't specify.   He instructed her to

        7   take the money from the unidentified account and not putting it

        8   into a company account but putting it into someone else's name.

        9   He never specified what it was going to be used for.

       10             MR. MOSCOWITZ:     Did he specify what the amount was?

       11             THE WITNESS:     No, he did not.

       12             MR. KIM:   The government argues that the fact that

       13   they are putting it in the name of someone else goes to another

       14   fact that is the concealing.

       15             MR. MOSCOWITZ:     Your Honor, I understand that the

       16   concerns that are raised by this testimony.       I believe it is

       17   rather vague.   We propose either, as the Court has suggested,

       18   that the hearing be put off until we determine if this is of

       19   significance or not, or if the government wants to proceed, I

       20   don't think it should be taken into account.       It is too

       21   imprecise and too vague.      It could be totally innocent.    Simply

       22   to drop the hearing at this time without knowing what we are

       23   talking about -- we have alleged we are not talking about a

       24   substantial amount of money.      That determines if it is material

       25   or not.


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        1               THE COURT:   Do you want time or not?   In other words,

        2   this would factor into my decision-making that he is directing

        3   his wife to transfer funds out of an unknown account to someone

        4   else's name, don't put it into a corporate account.         I have to

        5   wonder why.     Only your client can explain why, and what the

        6   amount is of the transfer is not that immaterial.         The fact is

        7   he doesn't want the government to know about it.         He doesn't

        8   want the government to be aware of that fund of money.         It's

        9   not to pay a mortgage.       Yes, it would factor into my

       10   decision-making particularly with the fact that the

       11   government's motion of your client's funds, deception and so

       12   forth.

       13               MR. MOSCOWITZ:    Excuse me, Your Honor, one second.

       14            [Defense counsel and Defendant confer off the record.]

       15               MR. MOSCOWITZ:    Your Honor, I understand the issues

       16   that the Court has raised.       I think, first of all, I don't know

       17   that the government can fairly argue that he is seeking to keep

       18   it from you, but whatever it is I would ask for additional time

       19   so we can clear it up and either it matters or it doesn't in

       20   terms of us finding out what the amounts are and what the

       21   accounts are.

       22               THE COURT:   How much time would you like?

       23               MR. MOSCOWITZ:    Your Honor, I would ask for a week.

       24               THE COURT:   Would you like me to reset this hearing --

       25   actually, we can hear the remaining arguments and just address


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        1   this issue next week when we are all gathered, next Friday,

        2   July 6 at 9:00.       You have the intervening July 4th weekend, so

        3   that may cause you some delay.

        4              MR. MOSCOWITZ:     Okay, Your Honor.   Thank you.

        5              THE COURT:     Why don't we hear the remaining arguments.

        6   I reviewed the transcript of the hearing that was held before

        7   the Magistrate Judge.

        8              MR. KIM:     Your Honor, there were additional facts with

        9   regard to the circumstances under which Witness 1 and Witness 2

       10   relayed the threatening remarks to agents including the date on

       11   which they were provided to agents.

       12              The government proffers that Witness 1 relayed the

       13   details of the comments on May 15th, and that Witness 2 relayed

       14   the specifics of the threatening remarks on June 12th.

       15              THE COURT:     After the defendant was already in

       16   custody?

       17              MR. KIM:     Exactly, Your Honor.

       18              Now, the circumstances under which these remarks were

       19   initially relayed preceded those dates, but were still posed

       20   Your Honor, regarding Witness 1, again that is set forth in the

       21   government's papers.       I first learned about them at Witness 1's

       22   initial appearance when counsel for Witness 1 approached me and

       23   relayed Witness One's concern subsequently on May 15th.        That's

       24   when we were able to sit down with Witness 1, and that's when

       25   Witness 1 provided the detailed statements to agents.


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        1              Regarding Witness 2, Witness 2 was having discussions

        2   with an agent who is not on this case about a completely

        3   different matter.    When the topic arose to potential fears,

        4   Witness 2 indicated well, he wasn't afraid of these people, but

        5   he was afraid of one person, and he mentioned the defendant.

        6   That's when that agent made contact with my agents, and that's

        7   when we sat down with him on June 12th and he provided the

        8   details.

        9              Again, as set forth in the government's papers the

       10   government is unaware of any communications between Witness 1

       11   and Witness 2.    The government argues that the circumstance of

       12   these threats came to our attention of unsolicited -- it goes

       13   to the credibility, in terms of the credibility of the threats

       14   themselves.

       15              Regarding the additional facts on the fraudulent

       16   proceeds, this is an additional fact, but it's not entirely

       17   new.   The 10.3 figure provided in the initial papers to

       18   Magistrate Judge Goodman, the government stands by that figure.

       19   The 5.8 is a subset of the 10.3.       It takes out certain expenses

       20   as set forth in the papers, credit card payments, payments to

       21   things that appear to be personal purchases, the government

       22   just backed that out.

       23              The 5.8 figure, which is again a subset of that 10.3

       24   comprises monies to the defendant to entities owned and

       25   controlled by the defendant including Psychiatric Consultant


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        1   Network, Procare, MidMed to the defendant's wife and then, of

        2   course, just withdrawn as cash in that the cash withdrawals are

        3   approximately $502,000.    That is an additional fact although

        4   that is a subset of the initial 10.3 before Judge Goodman.

        5            There were additional facts regarding the defendant's

        6   involvement in Psychiatric Consultant Network and Procare

        7   regarding his position in those companies to indicate that he

        8   controlled the companies including the fact that he was a

        9   signature on both of those accounts along with his wife.

       10            There were additional facts regarding the tax

       11   documents provided to Magistrate Judge Goodman.       There was an

       12   additional term in 2008 which referenced PCN the government

       13   proffers documents relative to that, that in 2008 the tax

       14   return for the defendant's company in Miami listed payments to

       15   Procare in the approximate amount of $378,000, I believe.

       16   Procare, of course, is in the name of the defendant and his

       17   wife, and in that 2008 return for the not-for-profit entity in

       18   Miami, listed the expenses to Procare as for billing services

       19   and as an independent contractor.

       20            The government believes it did that in order for it to

       21   qualify as a not-for-profit entity when in fact, Your Honor,

       22   Procare was owned and controlled by the defendant and his wife

       23   and they are the signature tours on that account.

       24            If you look at the 2008 individual return, submitted

       25   to Judge Goodman, it does not list any company much less


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        1   Procare.     There is no mention of any monies coming from

        2   Procare, and in that same 2008 return for the not-for-profit

        3   entity, it refers to some monies that were paid to the

        4   defendant as administrator.     That money is not mentioned in the

        5   file by the defendant and his wife.            So the government argues

        6   this is further evidence that the defendants attempted to

        7   conceal the fact that he is getting these monies through these

        8   companies and hiding the nature of his relationship to those

        9   companies.

       10              Additional clarification regarding the -- Oh, going

       11   back to the -- some of the reports.            The profit and loss

       12   statements submitted by the defendant to Magistrate Judge

       13   Goodman was 2008, and it was for the North Carolina facility.

       14   The government proffered the 2008 profit and loss statement for

       15   the Miami company.     In that it showed a few things that the

       16   government pointed out.     One of which was that -- one of it

       17   showed payments to the shell corporations again which were not

       18   providing any of the services that they entered into agreements

       19   for.

       20              Secondly, they showed as expenses, the so-called

       21   Medicare bad debt.     The Medicare bad debt is again that 20

       22   percent co-payment that the plaintiff was part of a lawsuit to

       23   recover and there was a settlement.            He would otherwise be

       24   entitled, based on that lawsuit to that 20 percent co-payment.

       25              Again, the government contends that any co-payment on


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        1   fraudulent claims are fraudulent claims -- fraudulent proceeds,

        2   and that it was inappropriate to list that as an expense, but

        3   that also underscores the government's argument that he is

        4   attempting to show that these are legitimate expenses when, in

        5   fact, they are not.

        6             Again, the two attachments are two of the claims that

        7   were submitted for these Medicare bad debts which have not yet

        8   been settled.   Those are for years 2010 and 2011.           There were

        9   additional claims previous to that.            Some of those monies were

       10   actually paid out.

       11             The defense counsel has advised the government that

       12   several hundred thousand dollars of that money has been paid

       13   out.   The government has attempted to locate those funds.

       14   Counsel has indicated he will disclose to the government the

       15   location of those funds once it is known to defense counsel.

       16   We still don't know where those funds are, Your Honor.            But if

       17   released, the defendant would presumably have access to, at the

       18   very least, those hundreds of thousands of dollars which the

       19   government contends are illicit proceeds.

       20             I believe, Your Honor, those are most of the

       21   additional facts that the government proffers in addition to

       22   what was previously proffered to Magistrate Judge Goodman.

       23             THE COURT:   One of the factors that the Court

       24   considers is the nature and circumstances of the offense and

       25   the weight of the evidence.     I believe you indicated to


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        1   Magistrate Judge Goodman that you calculate the defendant's

        2   advisory guideline range, given his prior criminal history, to

        3   be 360 to life?

        4             MR. KIM:     That's correct, Your Honor.

        5             THE COURT:     That's if he goes to trial?     That's on all

        6   counts?

        7             MR. KIM:     That is if he is found guilty on all counts.

        8   That calculation includes enhancements, of course, that the

        9   government would be seeking based on his role.

       10             THE COURT:     Sophistication?

       11             MR. KIM:     Exactly, Your Honor.     Sophistication not

       12   only for the underlying offense but sophisticated money

       13   laundering.   That 360 to life calculation presumes that the

       14   government would get all of those additional enhancements it

       15   would seek if we went to trial and won on all counts.

       16             THE COURT:     Any additional arguments, Mr. Kim, that

       17   you would like to present?

       18             MR. KIM:     No, Your Honor.

       19             THE COURT:     Thank you.

       20             MR. KIM:     Thank you, Judge.

       21             THE COURT:     Mr. Moscowitz.

       22             MR. MOSCOWITZ:     Thank you, Your Honor.     Your Honor, I

       23   will try to summarize my arguments briefly.

       24             THE COURT:     This is de novo review, is it not?

       25             MR. MOSCOWITZ:     It is, Your Honor.     I think that is an


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        1   important point whether it is characterized as a motion to

        2   revoke or essentially this is de novo review of a finding by

        3   the Magistrate at the hearing, and the standard for factual

        4   findings is reversal would be clearly erroneous.           I think that

        5   matters here, Your Honor.        I am going to address the claim for

        6   the merits but also procedurally.

        7               THE COURT:     Is the standard clearly erroneous?

        8               MR. MOSCOWITZ:     Factually, yes, Your Honor.

        9               THE COURT:     If I am considering this de novo, then the

       10   Magistrate Judge's findings deserve no deference, right?

       11               MR. MOSCOWITZ:     It's my understanding, looking as a

       12   whole, mixed findings of law and fact it's a de novo review

       13   specifically with regard to factual findings on the standards

       14   of whether it is clearly erroneous or not.

       15               MR. KIM:     Your Honor, I believe the standard is de

       16   novo review means de novo review.           That means the Court can

       17   take the factual findings in addition to considering other

       18   evidence.

       19               THE COURT:     Did the Magistrate Judge make factual

       20   findings?     In the transcript he did not.

       21               MR. MOSCOWITZ:     No, he did not.     He felt the

       22   government didn't meet the evidentiary standards.

       23               THE COURT:     So there are no factual findings.     There

       24   are no factual findings for me to review and agree with or

       25   disagree with under any standard.           We are basically starting


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        1   off anew here.

        2               MR. MOSCOWITZ:    We are, but it still is nonetheless

        3   review --

        4               THE COURT:    A conclusion.

        5               MR. MOSCOWITZ:    Of the evidence presented at the

        6   hearing.     The Court is, of course, free to take additional

        7   evidence, it is your discretion, if it determines that

        8   additional evidence is required.

        9               What the government has done here, not only has it

       10   offered additional evidence, it has substantially changed the

       11   allegations and the evidence which presented to the Magistrate.

       12   It is even contradicted as you heard sworn testimony presented

       13   to the Magistrate.       I think it is appropriate for the Court to

       14   take that fact into account in determining how to value or

       15   weigh the evidence which the government is presenting.

       16               Let me go through where I think the differences are.

       17   With regard to risk of flight, below they allege that

       18   Mr. Gonzalez was a Cuban national.          He was a risk of flight to

       19   Cuba.   It turns out he was born in Cuba.          Came here when he was

       20   four years.     He is a United States citizen.        He was naturalized

       21   in 1983.     In the papers it says 1994.

       22               The agent conceded at the hearing that there is no

       23   indication that he has ever gone back to Cuba.           His passport

       24   shows no travel to Cuba.       Although they say in the pleading to

       25   the Court there is no official record.           There is no record of


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        1   his going to Cuba.      His only travel abroad in the last five

        2   years is a honeymoon and a family trip in 2010 to Atlantis.

        3              The government conceded under oath that there is no

        4   indication that he has any monies overseas, that he made any

        5   attempt to transfer money overseas.             There is no basis to argue

        6   that he is a flight risk to Cuba.         Based on his family history,

        7   his father was a Cuban prisoner.        He would never go back to

        8   Cuba.    His family ties are here.      His mother is here who is in

        9   Miami.    His sons, he has four children.           They are all here in

       10   the United States and are United States citizens.

       11              With regard to the alleged threat to witnesses, the

       12   government put this agent on the stand under oath.             She

       13   testified that these statements, these threats, were made some

       14   time in 2011.    She testified that other witnesses were

       15   interviewed and no other witnesses that the government

       16   interviewed had a knowledge of these threats.

       17              Now, in contradiction of her testimony, they are

       18   proffering statements, reports that show that these threats

       19   were reported to them after Mr. Gonzalez was arrested.

       20              THE COURT:    I don't see the contradiction.         Her

       21   testimony is that the threats were made in 2011.             Mr. Kim's

       22   proffer is that some time in May and June they were approached

       23   by these witnesses' counsel and were advised of those

       24   pre-existing threats.

       25              MR. MOSCOWITZ:    No, Your Honor.         Her testimony was


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        1   that the interview took place in 2010.            Let me find that.

        2               MR. KIM:     Not to interrupt, I believe it occurs on

        3   page 38 of the transcript.        Just to clarify what was asked and

        4   answered, I don't mean to interrupt, all right, both of these

        5   interviews took place about a year ago.

        6               Answer:     It could be, yes.

        7               The witness thought that the interviews referred to

        8   one of the interviews, and the agent believed that Witness 1

        9   was interviewed some time before the indictment.

       10               On redirect examination, the witness clarified she did

       11   not know when those interviews took place.            Subsequently, I

       12   showed the agent the date of Witness 1's interview and that

       13   refreshed her memory.        Not withstanding that, this

       14   communication affects really the substances of why the

       15   government was proffering those threats.

       16               MR. MOSCOWITZ:     Your Honor, here is what her testimony

       17   was.     I asked her:     Now when did these interviews take place?

       18               Some time in 2011.     Okay, I don't have the exact date.

       19          Sorry.

       20               Was it some time over a year ago?

       21               Yeah.

       22               All right, both of these interviews took place about a

       23          year ago?

       24               It could be, yes.

       25               There was no clarification by the agent on redirect.


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        1   Mr. Kim, and I will read it.     He led her to indicate that it

        2   was incorrect and she agreed with his leading questions.

        3              The government made a choice below to put an agent on

        4   the stand, under oath, to provide a basis for an allegation

        5   that there were threats.     They chose an agent who, across the

        6   board, had very little knowledge about the evidence in this

        7   case.    It seems to me, the facts are what they are, and I will

        8   proffer these reports, but that says something about the way

        9   this hearing was conducted that they were prepared to take a

       10   risk to put on someone who didn't know what the facts were.           I

       11   believe they should be held to that.

       12              What has not changed even if these interviews took

       13   place several weeks ago, first of all, I asked her did she have

       14   any knowledge about the credibility witnesses.       No, she hadn't

       15   interviewed them.     She hadn't spoken to the agent who did

       16   interview them.     Of course, the witnesses were not present in

       17   court.    We were not given the names of the witnesses, their

       18   identities or anything about them.

       19              She did concede, this is a fact, that one of the

       20   witnesses is a corporate defendant who has plead guilty.        The

       21   other one acknowledges he is involved in fraud.       Mr. Kim

       22   intends to have this person also in the plea.       That

       23   substantially affects the credibility of the allegations for

       24   both of them.

       25              I think even if the change in when the interviews took


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        1   place which is somewhat disturbing that it's a different story

        2   than what was given under oath by the agent, I suggest there is

        3   no evidence or there are serious questions about the

        4   credibility of these claims by witnesses who had motives to say

        5   things that are incriminating of Mr. Gonzalez.

        6            I also asked, since the allegation is that these

        7   threats were against people cooperating generally, employees,

        8   whether others were interviewed.       The agent indicated that

        9   there were other employees who were interviewed.       I asked did

       10   anyone go back and see if they had heard any threats.        The

       11   answer was she didn't know.     It was never proffered.

       12            I asked:     How many interviews were done?

       13            I believe there were other employees interviewed.

       14            Was there any indication that anyone besides these two

       15       employees who are again not particularly credible, were

       16       aware that threats were made?

       17            We don't know.

       18            That struck me as a relevant matter to pursue.

       19            I think in terms of proof by clear and convincing

       20   evidence that Mr. Gonzalez threatened witnesses, this was not a

       21   credible showing.     Even today with this change, I don't believe

       22   that the evidence is very compelling to suggest that these

       23   threats took place.

       24            Now, the other area in which there is a change is with

       25   regard to funds, the monies and these other companies that the


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        1   government is referring to.     Below, they suggested that there

        2   were over $20 million in Medicare funds that were received and

        3   are missing.    They said those funds were largely missing.      To

        4   suggest that he had millions and millions of dollars available

        5   to him in the event that he were to flee.

        6             Putting aside what we heard this morning which we need

        7   to clarify.    There is no indication that Mr. Gonzalez is

        8   sitting on a pile of money.     He told Pre-trial Services that he

        9   had approximately $15,000.     His company's building in North

       10   Carolina where they provide, did their services, it has been in

       11   foreclosure since January.     His own residence, which has a

       12   mortgage of $450,000, apparently its value is less than that.

       13             There is no indication that he has millions of dollars

       14   available to him, and they have no direct knowledge of it.

       15   Instead they proceeded by inferences that they asked the Court

       16   to draw from the Medicare funds received.      The allegation was

       17   at first $20 million received, it's missing.       We show and the

       18   agent conceded that whether the government thinks these are

       19   legitimate businesses or not, clearly they believe they are not

       20   legitimate, nonetheless these are operating businesses which

       21   had the ordinary expenses and overhead of all businesses.

       22             We produced as an example, profit and loss statements

       23   for the entities from 2008.     The government produced its own

       24   copy of the PNL from 2008 from the MidMed company here in

       25   Miami.   They have that because those PNLs for Miami were


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        1   submitted on an annual basis to the government.         They show how

        2   funds were received and expended.        We put on the declaration of

        3   the accountant.     If you look at the PNL's, they add up to 27.

        4   something million dollars in expenditures.

        5              The government's version that it is missing, just,

        6   there is no basis for it.     Now, they say they no longer claim

        7   that it is missing.     They say it is dissipated and spent.         The

        8   issue for purposes of this hearing is whether it was spent and

        9   whether it is now available to Mr. Gonzalez for fleeing.

       10              Below they said it was $10.3 million without any basis

       11   to what the foundation is.     Now the number is reduced to $5.3

       12   million.    Again, that number is not monies paid to

       13   Mr. Gonzalez.     It's a combination of monies paid to him and

       14   monies paid to his management companies which were separate

       15   companies receiving funds from the Medicare entities.

       16              Now, the government I think is confusing two issues.

       17   They argue the companies were shelves.         They did provide

       18   legitimate services.     That's an argument and that clearly is an

       19   issue that goes to merits on the indictment.         The purpose of

       20   this hearing, this determination, the question is are those

       21   monies paid to him and are they hiding some place or not.

       22   Also, are they hiding where they were declared.

       23              We put on evidence showing that monies transferred to

       24   these entities was properly shown on PNL statements.         Those

       25   entities filed tax returns and declared what they received.


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        1   The monies transferred from those entities to Mr. Gonzalez were

        2   similarly shown on his tax return.        He filed taxes in which he

        3   showed he declared income.     That's the missing piece.

        4               Even as late as their filing yesterday, they have made

        5   incorrect statements about his tax returns.        They said last

        6   night that there is $150,000 that is missing from his 2008 tax

        7   return, money he received from the health care services network

        8   in Miami.

        9               Your Honor, that is not correct.     On Government's

       10   Exhibit 7, which is his tax return, in addition to the

       11   distributions on the K1 side, it shows income received of

       12   $156,000.     The issue is money hidden, not declared, and the

       13   only evidence before the Court is that monies which were

       14   transferred were properly declared.

       15               With regard to this other entity, Procare, yes,

       16   Procare is shown on an annual basis receiving monies.        There is

       17   no indication though that that monies were not properly

       18   declared by Procare on its taxes and properly dispensed.           The

       19   fact that monies from Procare are not shown -- there is no

       20   further showing of a distribution to Mr. Gonzalez may well mean

       21   that no such monies were, in fact, distributed from Procare.             I

       22   would proffer that there were no monies distributed to

       23   Mr. Gonzalez from Procare in 2008.

       24               The issue is not whether the monies were transferred.

       25   Indeed they were.     The issue is whether they were properly


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        1   accounted for.    The only evidence before Magistrate Goodman and

        2   this Court is the question of whether there are monies

        3   unaccounted for, the only evidence is monies which were paid by

        4   Medicare were properly accounted for.          The mere fact that the

        5   transfer itself is not indication that they were improperly

        6   handled.

        7              Again, that $5.3 million figure, as counsel has

        8   stated, if you break it down some component of it, I would

        9   suggest a large component are monies paid to the entities.          The

       10   issue is were those monies hidden, not declared, not regarded

       11   as taxes and there is no indication that's the case.

       12              We come to the last piece which is Medicaid monies,

       13   the $1.28 million which is now referenced for the first time

       14   before Your Honor.     At the hearing below, again the number

       15   keeps changing, at the hearing before Magistrate Judge Goodman,

       16   counsel said the matter is 5. something million dollars in

       17   Medicare fraud.     Now it's down to $1.28 million.

       18              Let me address the issue of the Medicare funds.        As we

       19   laid out in the pleading, Your Honor, the filing that is made

       20   to Medicare is for the total fees entitled under the Medicare

       21   contract, fees for services.     Medicare pays -- there is a 20

       22   percent co-payment, which is either paid by private insurance

       23   personally, or if the recipient is eligible by Medicaid is to

       24   be paid Medicaid.     Medicare pays 80 percent.       On the PNLs, the

       25   amount not paid by Medicare is reflected as Medicare bad debt.


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        1   That is, as I understand it, my accounting is not that

        2   sophisticated, monies that you believe in any business you are

        3   entitled to which you are not paid is reflected as bad debt.

        4   If at a later date it is paid, then it comes in as income.         It

        5   is an appropriate classification to call that money in 2008,

        6   bad debt.     It was not paid in 2008.

        7               What this is about at the end of 2008, early 2009, a

        8   lawsuit was filed by counsel, civil counsel who does Medicare,

        9   health care work, on behalf of a whole number of Medicare

       10   providers who were not receiving Medicaid co-payments from the

       11   State of Florida.     That was filed as a mandamus action against

       12   the state.     Payments under that lawsuit were first received,

       13   there was an agreement reached some time I believe in 2010 that

       14   OCOA would make payments pursuant to that mandamus action.

       15   Payments were first made on a rolling basis some time in late

       16   2011, early 2012.

       17               Those are the monies which we discussed with counsel.

       18   Those are the monies which are, as I understand it, in a

       19   company account.     We have had some difficulty identifying the

       20   precise amount in the account given that Mr. Gonzalez is

       21   incarcerated since May 2, but that's what those funds are.

       22   They haven't been hidden.     He referred to them, disclosed that

       23   fact in his Pre-trial services interview here.       There is no

       24   mystery about it.     It was appropriately accounted for on the

       25   PNLs.


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        1             We have agreed and told the government that it would

        2   be appropriate for Mr. Gonzalez to use these funds to pay

        3   attorneys fees and cost.     He first owes, the company owes a

        4   substantial amount to civil counsel in fees out of those funds

        5   for that case.

        6             Whether it's appropriate or not to use that, that's a

        7   matter which we, of course, want to address and resolve, and

        8   they are not going to be used for any purpose until that matter

        9   is addressed.    I wish to point out [A], those monies are in a

       10   company account.    You have heard that the government has had

       11   access to those accounts.     The government, when it filed its

       12   indictment here, there was no restraining order filed on

       13   Mr. Gonzalez's funds.    I think there is a lis pendens filed on

       14   his house.

       15             Now, once we have raised the argument that we believe

       16   these funds can be appropriately used for attorneys' fees, now

       17   the government is addressing that we actually shouldn't.         That

       18   is something of a concern.     We can address that at a later

       19   date.   The fact is there are no funds that the government shows

       20   are missing and available to Mr. Gonzalez.         His ties are here.

       21   He probably has disclosed what he has.         They have not met their

       22   burden that he is a risk of flight or that he is a danger.

       23             I just want to discuss briefly the conditions that

       24   Judge Magistrate Goodman set.      The conditions he set are quite

       25   stringent and impose substantial controls on Mr. Gonzalez.         He


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        1   first requires a number of people, family to be sureties and a

        2   long time friend to be solvent sureties to sign on his bond.

        3   In addition, his cousin, who signed his surety, Mr. Boa, a

        4   retired Miami police officer, is a monitor to see Mr. Gonzalez

        5   every day to ensure that he is where he is supposed to be and

        6   doing what he is supposed to be doing.         If there is any

        7   indication that he has violated his condition of bond, to

        8   report that to the Court.     That is an additional condition.

        9            Moreover, he is on home detention, electronic

       10   monitoring.   He can only leave his brother-in-law's house for

       11   the medical visits, legal visits and going to church.

       12   Otherwise he is locked down.     Those conditions, Your Honor,

       13   appropriately are sufficient to ensure that he is not a flight

       14   risk.

       15            Again, the government wishes to detain him pre-trial

       16   for what will be a substantial period of time whether six

       17   months, eight months or a year depriving his liberty.            It

       18   should do so only if it satisfies the burden.         We believe that

       19   it has not met its burden.     Thank you, Your Honor.

       20            THE COURT:     Thank you.

       21            Mr. Kim.

       22            MR. KIM:     Your Honor, just very briefly in reply.

       23   Your Honor, the government fully concedes that Agent Rivera did

       24   not remember the date when Witness 1 spoke with agents about

       25   the details of those threats.        What is important, Your Honor is


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        1   that the substance of those threats are uncontradicted except

        2   for the part of denial.       The government has unredacted versions

        3   of those reports, can provide them to the Court which provides

        4   the date --

        5              THE COURT:     Have you provided them to defense counsel?

        6              MR. KIM:     I have not, Your Honor.

        7              THE COURT:     Do you have redacted versions for defense

        8   counsel?

        9              MR. KIM:     I do, Your Honor.

       10              THE COURT:     Why don't you give defense counsel

       11   redacted versions and let me see them myself.          One of main

       12   arguments is these defendants lack credibility and their

       13   self-interest and lack of cooperation with the government.

       14              MR. MOSCOWITZ:     Counsel says these are uncontradicted

       15   threats.

       16              THE COURT:     They are uncontradicted because you

       17   haven't had the opportunity to cross-examine them.

       18              MR. MOSCOWITZ:     Plus, we proffer they weren't made.

       19   If a threat isn't made, how could we contradict it.

       20              THE COURT:     Right.    I understand.   Why don't we take a

       21   look at the redacted reports.

       22              MR. KIM:     If I may approach?

       23              THE COURT:     Yes, please.

       24              MR. KIM:     Your Honor, I have handed the Court and

       25   counsel an entire report of Witness 2 and the relevant portion


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        1   Witness 1.

        2             MR. KIM:     Your Honor, the government maintains that

        3   simply by virtue of the fact that Agent Rivera forgot the date

        4   of when Witness 1 provided the date to agents does not undercut

        5   her testimony.

        6             MR. MOSCOWITZ:     What?

        7             THE COURT:     Simply because Agent Rivera forgot the

        8   date of when Witness 1 provided the date to the agents does not

        9   undercut her testimony.

       10             MR. KIM:     Which is based on these reports which the

       11   Court now has.

       12             THE COURT:     So the agent was testifying based on her

       13   recollection of what these reports contained, but she didn't

       14   have them available to her at the hearing before the Magistrate

       15   Judge to refresh her recollection?

       16             MR. KIM:     Exactly, Your Honor.     In all fairness, the

       17   government did not proffer these redacted reports to Magistrate

       18   Judge Goodman.

       19             Not only that Your Honor, now, Your Honor, regarding

       20   the figures, just to clarify, it appears that defendant

       21   represented to Pre-trial Services that he had $15,000 available

       22   to him.   It now appears uncontradicted that there are several

       23   hundred thousand dollars in Medicaid funds which are out there

       24   and the government is still waiting to hear where those funds

       25   are.   All those funds, again, the government argues are


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        1   co-payments on fraudulent payments of illicit proceeds.         The

        2   defendant misrepresented the funds available to him to

        3   Pre-trial services.

        4               Secondly, Your Honor.      The government maintains that

        5   the defendant lied to the IRS in terms of the money that he was

        6   reporting.     The 2008 tax return that was submitted to Judge

        7   Goodman does report $156,000 earned from the entity in North

        8   Carolina.     The $150,000 that was not returned was from the

        9   entity in Miami.       Those are two different funds.    The $156,000

       10   in North Carolina is not filed with his return that he filed

       11   with his wife.

       12               In the Miami return there was over $370,000 in

       13   compensation paid to Procare, an entity owned by the defendant

       14   and his wife.     In the joint return submitted to the Court, even

       15   if they loss money -- Procare is not even mentioned anywhere

       16   much less a loss.        I don't know see how $378,000 paid to a

       17   company that did not do anything, that they would have lost any

       18   money.   They didn't even report the money, Your Honor.

       19               It was proffered to Magistrate Judge Goodman that

       20   Procare, as represented to the IRS, was for billing.         It was

       21   proffered to Magistrate Judge Goodman that Procare did no such

       22   thing, did not do any billing.

       23               THE COURT:     Did Procare have employees?

       24               MR. KIM:     Your Honor, as far as the government knows,

       25   it was owned and operated by the defendant and his wife.           Had


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        1   the same address as Health Care Solutions, one of the Health

        2   Care Solutions entities in Miami.        Again, Procare was not the

        3   defendant's billing.

        4             Now, in addition to misrepresenting to the IRS and

        5   arguably providing only a narrow set of documents.        Again,

        6   these are documents -- not even all the tax documents for 2008,

        7   but just three select ones related to the North Carolina

        8   facility the first year they moved up there.        In terms of the

        9   amount of billing year by year, the amount of Medicare money

       10   that went to the North Carolina facility, that was one of the

       11   lowest years of revenue.     The Court knows this because it can

       12   compare this to the 2008 PNL statement for the Miami entity

       13   which reported $4.4 million in Medicare.        The defense did not

       14   disclose to Magistrate Judge Goodman.

       15             In addition to that, Your Honor, the defendant lied to

       16   Medicare about the nature of Procare PCN.        The defendant

       17   represented in a questionnaire form 339 stated that he did not

       18   have a business relationship with an entity that he was related

       19   to.   Your Honor --

       20             MR. MOSCOWITZ:    Excuse, Your Honor, these are new

       21   arguments now?

       22             MR. KIM:    These were in the government's papers.       I

       23   believe the government even quoted from -- it's on page 6.             In

       24   the government's motion for revocation and release order.          The

       25   government quotes from form 339 which the defendant signs when


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        1   he says he has no business relationship with a related entity

        2   which is relevant for many purposes.                He lied to Medicare in

        3   terms of the fact that he was the signatory on the companies

        4   that weren't doing anything.          He had to, for IRS purposes,

        5   that's why he listed them as independent organizations on his

        6   tax returns.     Those are the documents which the defendant is

        7   presenting to the Court to say his business is legitimate.

        8               There has been no change in the 1.28 Medicaid figure,

        9   Your Honor.     From the outset, the government has maintained

       10   that the paid amount is over $228 million that was Medicare and

       11   Medicaid.     The $1.28 that was paid by Medicaid, the government

       12   has never wavered from that.          Maintains that's the figure.

       13   That's the number provided by Medicaid.

       14               THE COURT:     Where is that $1.2 million?

       15               MR. KIM:     Your Honor, that is what I referred to right

       16   from the get-go in the papers the government state that we did

       17   not know where those monies were deposited.                We subsequently

       18   have found the EFT agreement which led to a CitiBank account.

       19   We checked the balance on that.           The balance is less than $100.

       20   That money is --

       21               THE COURT:     Gone.

       22               MR. KIM:     As far as we know, Your Honor.

       23               THE COURT:     And you don't know where?

       24               MR. KIM:     That is correct, Your Honor.

       25               MR. PARENTE:     We received from counsel for Medicaid an


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        1   EFT agreement.     We subpoenaed those accounts.          We don't have

        2   the transactional data.        We did check with bank officials, and

        3   the account is less than $100.

        4               THE COURT:     I'm sorry, when was that money deposited

        5   into the account?

        6               MR. PARENTE:     Your Honor, we don't have the

        7   transactional data.        This is the information we received from

        8   Medicaid.     This is if electronic funds were transferred to

        9   Medicaid into health solutions, it would have gone into the

       10   account.

       11               THE COURT:     We don't know what month, what year it was

       12   done in?

       13               MR. PARENTE:     We requested that from Mr. Moscowitz and

       14   he has not been able to provide that.             I would ask at the

       15   hearing of July 6 that we would be provided with that

       16   information.     I probably will be handling it for Mr. Kim.           It

       17   really goes to the strength of the government's argument, Your

       18   Honor.     If this defendant is let out on some sort of bond, he

       19   will access what Mr. Moscowitz has represented to the

       20   government hundreds of thousands of dollars.             We haven't gotten

       21   any specificity in terms of the amount of the money.

       22   Significantly more than $15,000 that is up in North Carolina.

       23               MR. MOSCOWITZ:     I have got the pre-trial services

       24   report here.     In the affidavit he reported having $15,000 in

       25   savings.     He advised $73,000 has a mortgage balance of


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        1   $410,000.

        2               THE COURT:   Home worth was what?

        3               MR. MOSCOWITZ:   He says $750,000, which has a mortgage

        4   balance of $410,000.      The defendant says he has over $1 million

        5   in debt.     I spoke with government's forfeiture counsel, and

        6   it's the Marshal's evaluation that the house may have a market

        7   value less than the mortgage on.        They may, in fact, based on

        8   that, decided to remove the lis pendens on the house.

        9               I agree the issue of whether there are additional

       10   accounts he has monies, the issue of the Medicaid funds is a

       11   matter that needs to be determined, but that's something that I

       12   would ask to address those specific funds by next week.             Like I

       13   said, we disclosed that those funds have been sent by accurate

       14   can a in the last year to the company.          It should be in a

       15   company account.     I don't understand why the government who has

       16   access to all the accounts is unaware of it.          Certainly, we

       17   intend to clear that up and bring it to the Court's attention.

       18               We keep coming back to the issue of whether he is

       19   properly declaring funds or not.        Exhibit 7, we are talking

       20   about the same tax return.      It shows business income, $156,000.

       21   It doesn't say that it is received from North Carolina.             I

       22   don't know where Mr. Kim sees that.

       23               What we showed on the return is first of all, in

       24   addition to that there is supplemental income, rent income of

       25   $56,000.     With regard to the K1s from Health Care Solution Net


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        1   of North Carolina, there was a loss of $138,141.             In addition

        2   to the K1 showing a gain from Psychiatric Consulting Network,

        3   $89,519.    So those monies are in addition to the $156,000 that

        4   Mr. Kim wants to look at again and clarify.

        5              MR. KIM:     Your Honor, the defendant received two 1099s

        6   in 2008.    One had a Florida address.           One had a Miami address.

        7   One was for 150.       The other was for 156.        The defendant, in the

        8   tax document he submitted to Magistrate Judge Goodman, had only

        9   the 156 figure.       We know of the 150 figure because he received

       10   a 1099 for it, and it's in the 2008 return for the Miami entity

       11   which reports income paid to the defendant in that amount.

       12              MR. MOSCOWITZ:     Do you have the 1099?

       13              Sorry, Your Honor.

       14              THE COURT:     It's all right.

       15              MR. KIM:     Your Honor, I do have.

       16              MR. KIM:     Your Honor, if the Court wishes to have it,

       17   I have the 2008 return for the health care solutions entity in

       18   Miami but not the alleged not-for-profit entity which list

       19   $150,000 in reportable compensation to the defendant which is

       20   not reported in the other return.          This also listed the

       21   $378,000 in compensation paid to Procare as an independent

       22   contractor.    I can proffer this to the Court if the Court

       23   wishes to review it.

       24              THE COURT:     I will accept your proffer.

       25              MR. MOSCOWITZ:     Your Honor, what is the basis which he


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        1   says that was not reported?       I am looking at line 12 which

        2   shows business or income of loss on the 1040 shows $156,000.

        3              MR. KIM:     The government maintains that's the income

        4   from a different entity.       The 156 is from the North Carolina

        5   entity or different entity or something else.         It's not this

        6   $150,000 that is reported in this 2008 return.

        7              MR. MOSCOWITZ:     All right, Your Honor, I have nothing

        8   further.    I believe they're misreading the return.

        9              Your Honor, may I address the threat?

       10              THE COURT:     Certainly.

       11              MR. KIM:     Your Honor, on that document, if the Court

       12   turns to pages 7 and 8.

       13              MR. MOSCOWITZ:     Which one are you on?

       14              MR. KIM:     Page 7 and 8 in the document that I just

       15   handed you.    This is the 2008 not-for-profit return.

       16              That's compensation for this entity, Your Honor.        The

       17   compensation in the return submitted to the Court, which lists

       18   156, is from a different entity.         That return should have

       19   included this income.

       20              Your Honor, the point of the government in making this

       21   argument is simply that the document submitted to the Court

       22   didn't portray a full picture of even 2008, and these documents

       23   underscore the government's position which is that these are

       24   part of a scheme to defraud the government and why he is a

       25   flight risk because, if released on bond, he may attempt to


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        1   flee based on his prior disregard for -- based on his prior

        2   concealment to government authorities.

        3             MR. MOSCOWITZ:       Your Honor, may I respond to this

        4   specifically?

        5             THE COURT:    Yes.

        6             MR. MOSCOWITZ:       It is the last time I will regard to

        7   the tax return.     He keeps saying there is another $156,000 from

        8   North Carolina.     If he can show it, I would like to see it.          He

        9   asserts it but he doesn't show it.           What we presented it was

       10   not misleading.     We presented the tax returns of these entities

       11   and his personal return to show that monies were properly

       12   accounted for.    We have also presented declarations from the

       13   accountant talking about the total funds received from Medicare

       14   over the seven-year period which we told ran approximately $26

       15   million and another declaration that the total expenses were

       16   over $27 million.

       17             As I said earlier, all of those PNLs were available to

       18   the government.     The time to have rebutted it, if those PNLs

       19   were incorrect, was then.        They had that available This is

       20   nothing new.

       21             The fact that the Miami PNL shows over $4 million

       22   received in Medicare funds was properly disclosed.           We put in a

       23   schedule showing how much was paid each year to each Medicare

       24   entity.   I believe that is Defense Exhibit 4.          It shows year by

       25   year, Miami and North Carolina.          Nothing was disclosed or


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        1   misrepresented.     This was simply given as an example.

        2               The government again, I believe, continues to

        3   misunderstand the issue.     It's their argument that these

        4   arrangements are illegitimate.      That goes to the merits.

        5   That's a different point than whether the funds were simply

        6   dissipated and spent and they haven't shown that.         They simply

        7   argue that repeatedly.

        8               Your Honor, with regard to these reports handed to

        9   you, it would have been good I think if the agent had seen them

       10   before the hearing as well as we have.         I think there is no

       11   reason to put an agent under oath who knows so, so little

       12   evidence.     They chose to put on an agent who knew too little

       13   and consequently they presented incorrect evidence.

       14               As I read these reports, they do not disclose -- first

       15   of all, we would say they are not true, but they don't disclose

       16   that he made threats, as what was represented to the Court, to

       17   these witnesses.

       18               The first one, which is dated May 15th, that during

       19   the summer of 2011, Armando Gonzalez told X that a former

       20   employee, Ben Ferguson, had called local news and complained

       21   about Manny and his North Carolina company regarding having a

       22   bad work experience and receiving bad checks.         Then supposedly

       23   said in Miami he would have been found floating in the river

       24   for making comments like that.

       25               We don't think it's true this is short of what they


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        1   are claiming is threatening government witnesses.        This is

        2   somebody who made a complaint about making a bad work

        3   experience and writing bad checks.        This doesn't sound like a

        4   threat.   This sounds like someone who was disgruntled about the

        5   payments that he received.

        6             With regard to the other one, it's as I understand it,

        7   this person who, I believe his name is -- this his name in the

        8   third paragraph that you just failed to black that out?

        9             MR. KIM:   Yes.

       10             MR. MOSCOWITZ:    Your Honor, this matters, I am not

       11   handing this to my client.     If you look at the report handed to

       12   you dated June 12, five down, second line, according to X.

       13   This is somebody who was employed for a brief period by

       14   Mr. Gonzalez's companies.     He is somebody who I believe, and

       15   correct me if I'm wrong, entered into an agreement with the

       16   government.   He was cooperating with this and cooperated in

       17   other cases on behalf of the government.        Mr. Gonzalez's

       18   argument with him is over the fact not that he was reporting to

       19   the government but that he was marketing to ALFs and he was

       20   stealing Medicare beneficiaries to take them.

       21             This is some dispute as to whether -- I mean, on its

       22   face, the disagreement between them was over whether this

       23   fellow was doing his job appropriately or he was doing

       24   something that that he shouldn't have been doing.

       25             The other paragraph is Mr. Gonzalez displaying himself


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        1   as a Mafioso the fact that he was carrying cash out in paper

        2   bags, the way he carried himself.        I don't think that's

        3   credible.     I think it's ludicrous.

        4               Next paragraph, according to this person, Gonzalez got

        5   in troubled.     Mr. Gonzalez was employed at a hospital.         He

        6   previously was employed at hospitals.            As we proffered at the

        7   hearing, Your Honor, Mr. Gonzalez's experience before this was

        8   in various health care aid and also drug counseling -- that he

        9   got in trouble because of an employee and waited for him in the

       10   parking lot of the hospital and beat him with a baseball bat.

       11               If Mr. Gonzalez, given his criminal record, had beaten

       12   someone on the hospital grounds with a baseball bat, I think

       13   there would be some report of that.            He would not be able to

       14   continue working in hospitals and in drug programs the way he

       15   had done until he began these companies in 2004.            The fact that

       16   this person, who is of limited credibility, makes that kind of

       17   allegation, I don't believe it should be taken seriously.               The

       18   fact that it goes on to say he was going to take care of this

       19   and that, people bad mouthing the company, people that

       20   threatened to contact Medicare, Gonzalez used to say that he

       21   was going to take care of them.

       22               I would ask the government if they could proffer,

       23   besides these two people, who I believe had limited

       24   credibility, did they interview other employees.            Did other

       25   employees provide information?      Did they say that Mr. Gonzalez


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        1   did anything inappropriate or threatening to discourage them

        2   from talking to the government?

        3               THE COURT:     Mr. Kim?

        4               MR. KIM:     I'm sorry, Your Honor, what was the

        5   question?

        6               THE COURT:     Did other employees provide information or

        7   did other employees say that the defendant said anything

        8   inappropriate to them besides these two witnesses?

        9               MR. KIM:     Your Honor, I believe, and before I answer

       10   that question, the government has not, since these threats were

       11   made, reinterviewed everybody regarding these threats.          The

       12   government believed that these two were sufficient.

       13               Having said that, Your Honor, I believe that other

       14   witnesses made references to fearing the defendant.        How many

       15   of those?     I recall at least two or three other witnesses who

       16   made references to the defendant portraying this Mafioso type

       17   figure and had expressed some fear, but again, I did not

       18   believe that we had to go into exploring -- I don't believe,

       19   Your Honor, that all the witnesses were asked about these

       20   threats.     But yes, more than these two witnesses have expressed

       21   some fear of the defendant.

       22               Now, the government has disclosed to counsel, it was

       23   in the papers to Judge Goodman, and it is in the papers before

       24   this Court, to that Witness 2 signed agreement and that both

       25   witnesses have admitted participating in this scheme.          That is


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        1   what it is, Your Honor.     These statements are what they are.

        2            I appreciate defense counsel's point that this is a

        3   pre-trial detention hearing, and it's not a trial on the merits

        4   which is why when the government received, at the hearing,

        5   after Agent Rivera testified, the defendant's Exhibits 1

        6   through 22, the government did not, at that point, obviously

        7   have a chance to go through its documents and provide

        8   everything in response to those documents, but that's why the

        9   government is also limiting its response and papers to the

       10   Court just to the other documents the government had for 2008

       11   to show that even the documents that were submitted in 2008, A,

       12   they were inaccurate.     B, they showed, again concealment to a

       13   government authority; and C, because they were not the complete

       14   documents.   Even in 2008 they underscored his pattern of deceit

       15   and concealment.

       16            Regarding the 156 and 150 figure, again, Your Honor,

       17   the government maintains that the 156 reported in the tax

       18   return submitted to Magistrate Judge Goodman is different than

       19   the 150 that is reported from the 2008 return for the

       20   not-for-profit entity.     If that is important to the Court, the

       21   government can provide additional documents regarding the

       22   sources of those different funds, but Your Honor, the

       23   government maintains this is not, as counsel mentioned, this is

       24   not a trial on the merits were the government to show that the

       25   2008 report under-reported his income.


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        1               So again, it shows a pattern of deceit and

        2   concealment.     Regardless of what comes out where the other

        3   hundreds of thousands of Medicare appear, Your Honor.        What

        4   does not change is the defendant lied to pre-trial services

        5   about the money he had out there, under-reporting it

        6   representing to Pre-trial Services that he had approximately

        7   $15,000 out there.

        8               Regarding the Cuban national allegation, Your Honor, I

        9   don't think it's that important.        But the government was making

       10   that argument to reflect that he was born in Cuba.        If I were

       11   born in the United States and if I left and gained residency in

       12   other country, I could come back to the United States by virtue

       13   of my birth in this country.      That is what the government meant

       14   by Cuban national.

       15               If I used the term "national" in the wrong way, that's

       16   not what the government meant.       The government concedes it is

       17   unaware of any travel overseas, but that is not the basis of

       18   that particular argument, Your Honor.

       19               For all of those reasons, the government maintains

       20   that he is a flight risk and a danger to the community.

       21               MR. MOSCOWITZ:   Your Honor, I have no further

       22   argument.

       23               Can the Court direct the government to give me copies

       24   of the two telephone recordings which the agent testified about

       25   so I can hear them, and we can make a recommendation and


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        1   determination to the Court back on Monday?

        2            THE COURT:     Mr. Kim?

        3            MR. KIM:     Your Honor, it's not that the government is

        4   trying to hide that, it's just that for purposes of a PT

        5   hearing, it's not meant to be a discovery.        We would have

        6   otherwise disclosed that to counsel.

        7            THE COURT:     We are reconvening next week so that the

        8   defendant can give me more information on the accounts on those

        9   conversations.

       10            MR. KIM:     We will go ahead and disclose those

       11   statements, Your Honor.

       12            MR. MOSCOWITZ:     Can I get those tape recordings prior

       13   to the hearing?

       14            THE COURT:     That's my assumption.

       15            MR. KIM:     We will get the recordings to counsel as

       16   soon as we can, Your Honor.

       17            THE COURT:     All right.    I will see you all Friday.

       18   You all have a good day.

       19            I'm sorry, I believe the parties have a report later

       20   today with the Magistrate Judge report re: counsel and

       21   arraignment.     Why don't we publish that now.

       22            MR. MOSCOWITZ:     It was at 10:00.

       23            THE COURT:     So it's gone.

       24            MR. MOSCOWITZ:     I ask that I be put over also, that we

       25   are not in a position to arraign the defendant or present an


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        1   appearance.

        2             THE COURT:       All right.          We will address that at our

        3   next hearing.    Thank you.

        4                 [Proceedings conclude at 11:20 a.m.].

        5                              C E R T I F I C A T E

        6           I hereby certify that the foregoing is an accurate

        7   transcription of proceedings in the above-entitled matter.

        8
                                       /S/ ROBIN MARIE DISPENZIERI
        9   ______________          _______________________________________
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                            Quality Assurance by Proximity Linguibase Technologies
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